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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  IN RE FLINT WATER LITIGATION          Case No. 5:16-cv-10444-JEL-MKM
                                        Hon. Judith E. Levy

  This Document Relates To:
  Gaddy et al. v. Flint et al.     Case No. 5:17-cv-11166-JEL-MKM
  Meeks et al. v. Flint et al.     Case No. 5:17-cv-11165-JEL-MKM
 __________________________________________________________________

    DEFENDANTS VEOLIA NORTH AMERICA, LLC, VEOLIA NORTH
       AMERICA, INC., AND VEOLIA WATER NORTH AMERICA
     OPERATING SERVICES, LLC’S REPLY IN SUPPORT OF THEIR
        MOTION TO EXCLUDE IMPROPER JURY ARGUMENT
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                                  INTRODUCTION
        VNA filed this motion in limine in order to set ground rules for the trial. As

 the Court recognized in a recent conference, several of the categories of argument at

 issue in this motion are obviously improper. But when VNA sought a stipulation to

 that effect, Plaintiffs refused, saying that they would not stipulate and would oppose

 almost all of this motion (and all of VNA’s other motions in limine). VNA therefore

 asks the Court to enter an order barring the improper argument and evidence, so that

 it does not come up in opening statements or in questioning and does not irrevocably

 taint the trial.

                                     ARGUMENT

 I.     Arguments That Incite Local Or Anti-Corporate Bias
        Plaintiffs “agree that arguments designed to incite regional bias or anti-

 corporate bias are improper.” Pls. Opp. to VNA Mot. to Exclude Improper Jury

 Argument (Pls. Opp.) 4, ECF No. 553, PageID.42133. Yet when the parties met and

 conferred at the Court’s suggestion, Plaintiffs would not stipulate to exclusion of

 those arguments. Instead, Plaintiffs oppose VNA’s motion, asserting that a ruling

 on the issue will result in “another layer of argument during trial when accusations

 fly about one party or the other violating it.” Id. at 5, PageID.42134.

        The Court should enter an order barring statements of this sort so the parties

 have clear direction about what is off limits at trial. Plaintiffs suggest that the jury

 will know that VNA is a corporation, and they point out that VNA has argued that

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 many of its employees are outside the subpoena power of the court because VNA is

 located out of state. But that is not responsive. Of course, the jury will know that

 VNA is a corporation; the point of the motion is to prevent Plaintiffs from trying to

 tap into anti-corporate bias. And the fact that many of VNA’s employees are outside

 the subpoena power of the court hardly means that it is okay to make appeals to

 regional bias.

 II.   References To VNA’s Size Or Wealth Or Plaintiffs’ Financial Condition
       VNA seeks to exclude “any references to VNA’s size, finances, or net worth”

 because those topics are irrelevant to questions of liability and damages and, as

 numerous courts have recognized, are extremely prejudicial. Br. in Supp. of VNA

 Mot. to Exclude Improper Jury Argument (VNA Br.) 5-7, ECF No. 489,

 PageID.36914-36916. Plaintiffs concede that “statements and comments about a

 defendants’ size or financial condition designed to incite a bias against it—or in

 favor of the plaintiff—are improper.” Pls. Opp. 6 n.4, PageID.42135. They

 nevertheless argue that VNA’s statements to the City of Flint touting its size when

 bidding for the work are relevant to show that the City relied on VNA’s size. That,

 according to Plaintiffs, makes the City less culpable. Pls. Opp. 5-7, PageID.42134-

 42136.

       Plaintiffs’ argument is contrary to binding Michigan law. “‘The rule is firmly

 established that defendant[s] [are] bound to use the degree of diligence and skill



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 which is ordinarily possessed by the average of the members of the profession in

 similar localities.’” Cox ex rel. Cox v. Bd. of Hosp. Managers for City of Flint, 467

 Mich. 1, 21 (2002) (quoting Rytkonen v. Lojacono, 269 Mich. 270, 274-75 (1934)).

 Plaintiffs’ argument—that when apportioning fault among the parties the jury should

 consider the heightened expectations that the City allegedly had for VNA—seeks to

 circumvent that rule by assigning fault according to the City’s alleged subjective,

 heightened expectations rather than the objective standard that applies under

 Michigan law. And lowering the City’s share of fault because it had heightened

 expectations for VNA would expose VNA to a greater share of fault because of those

 expectations. That is not consistent with Michigan law. Even when assigning fault

 to the City, the jury may consider only the City’s expectation that VNA would “use

 the degree of diligence and skill which is ordinarily possessed by the average of the

 members of the profession in similar localities.” Id.

       Even if the jury could consider the City’s supposedly heightened expectations

 for VNA when apportioning fault under Michigan law, Plaintiffs have not explained

 why VNA’s finances would have played any meaningful role in what the City

 expected of VNA. And allowing Plaintiffs to make this argument would risk the

 jury judging VNA’s conduct according to some special expectations of the City

 rather than the objective standard of care under Michigan law, and/or assigning fault

 based on VNA’s financial condition rather than its conduct. That risk—which goes



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 to the central issues for trial—dwarfs any potential probative value of the tangential

 point that the City allegedly relied on VNA, in part, because of its finances.

       VNA also seeks to exclude evidence of Plaintiffs’ financial conditions. VNA

 Br. 7-8, PageID.36916-36917. Plaintiffs concede that “references to Plaintiffs’

 financial conditions in order to evoke sympathy or the financial disparity between

 the parties are improper.” Pls. Opp. 6, PageID.42135. But they suggest that their

 families’ financial conditions are relevant for two other purposes. They are wrong

 on both counts.

       First, Plaintiffs argue that “VNA’s summary judgment arguments regarding

 when each Plaintiff stopped ingesting Flint River sourced drinking water” raise

 questions about “their abilities to completely avoid the water sourced from the Flint

 River.” Pls. Opp. 6, PageID.42135. But VNA’s argument turns only on the

 historical fact of when Plaintiffs stopped ingesting the water—specifically, whether

 they stopped before VNA could have affected the water. Why Plaintiffs stopped is

 irrelevant, as is whether they had the financial resources to stop earlier.

       Second, Plaintiffs suggest that their financial resources are relevant to “their

 abilities to mitigate . . . damages” caused by their allegedly reduced earning

 capacities. Pls. Opp. 6-7, PageID.42135-42136. But VNA is not aware of any

 authority holding that damages for lost earning capacity should be reduced by

 Plaintiffs’ ability to “mitigate” their damages with existing financial resources. And



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 Plaintiffs’ damages experts have not offered any opinions related to “mitigation” of

 lost earnings. Anyway, VNA does not intend to make such an argument at trial.

 Finally, whatever minimal relevance that arguments about Plaintiffs’ financial

 condition might have would be swamped by the risk that the jury might improperly

 base its verdict on sympathy rather than the evidence. See, e.g., United States v.

 Poindexter, 942 F.2d 354, 360 (6th Cir. 1991) (“The district court has discretionary

 control over opening statements, including the power to exclude irrelevant

 matters.”); Taulbee v. Wal-Mart Stores, Inc., 5 F. App’x 361, 365 (6th Cir. 2001)

 (affirming limitation on closing argument to cut off time-consuming argument “of

 little clear value”).

 III.   Suggestions That VNA Owed A Heightened Duty Because Of Its Size Or
        Sophistication
        VNA asked the Court to bar arguments and statements suggesting that VNA

 should be held to a higher standard because it is a large and sophisticated company.

 VNA Br. 8-12, PageID.36917-36921. Plaintiffs do not join issue with this argument.

 Instead, they say that VNA’s size and sophistication are relevant to apportionment

 of fault because VNA emphasized those facts to win the engagement. Pls. Opp. 7-

 8, PageID.42136-42137. As explained above, that argument is inconsistent with

 Michigan law. In any event, whether the City relied on VNA’s statements about its

 size and sophistication in deciding to retain VNA, those statements do not alter the

 standard of care. See Cox, 467 Mich. at 21; City of Cleveland v. Peter Kiewit Sons’


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 Co., 624 F.2d 749, 757-59 (6th Cir. 1980); VNA Br. 9-12, PageID.36918-36921

 (citing cases). Plaintiffs should be barred from arguing that VNA should be held to

 a higher standard because of its size and sophistication.

 IV.   Arguments That The Jury Should “Send A Message” To VNA Or Other
       Corporations
       Plaintiffs concede that an “argument that a jury should use its compensatory

 verdict to ‘send a message’ to the defendant is improper.”              Pls. Opp. 8,

 PageID.42137. Their only argument is that VNA’s motion is too broad because it

 seeks an order barring arguments “implying” that the jury should do this. Id. But

 the point is that it simply is not permissible to make this argument, whether directly

 or by implication. Since everyone seems to agree that such arguments are improper,

 the Court should bar any argument stating or implying that the jury should return a

 verdict that “sends a message” to VNA or to other companies.

 V.    Statements To The Effect That The Jury Is The Only Entity With The
       Power To Regulate Or Change VNA’s Conduct
       Plaintiffs do not dispute that it would be improper for them to argue that the

 jury is the only entity with the power to alter VNA’s conduct or the conduct of others.

 Pls. Opp. 9, PageID.42138. They simply rely on their argument about why they

 should be able to make statements implying that the jury should “send a message”

 to VNA—which is wrong for the reasons just provided. The Court should bar

 Plaintiffs from making this argument because it is factually incorrect, irrelevant, and



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 impermissibly seeks a punitive verdict intended to change Defendants’ conduct

 rather than compensate Plaintiffs. VNA Br. 14, PageID36923.

 VI.   Statements That VNA Acted “Unethically,” “Put Profits Over Safety,”
       Or Violated Some Normative Criteria Other Than The Standard Of Care
       As the Court has held, testimony about standards of conduct other than the

 legal standard of care—including ethical standards—are not admissible because “the

 morality of Defendants’ conduct is not at issue in this case.” Opinion and Order on

 VNA Mot. to Exclude Testimony by Mr. Richard Humann 30, ECF No. 523,

 PageID.40071. Argument about whether VNA violated some norm other than the

 standard of professional care should be barred for the same reason.

       VNA also seeks to exclude argument about the alleged motives or intent of its

 employees, including whether they were motivated by financial considerations.

 VNA Br. 15-16, PageID.36924-36925. Plaintiffs “incorporate by reference” their

 opposition to VNA’s motion to exclude evidence on that topic. Pls. Opp. 9 n.7,

 PageID.42138. VNA agrees that the Court’s ruling on whether that evidence is

 admissible also should control whether argument on these topics is allowed. As

 VNA explains in its reply in support of the evidentiary motion, it has no plan to make

 an issue of “intent” or “motive” at trial (including arguing that it “took the Flint

 contract ‘to do the right thing’ ”), unless Plaintiffs somehow inject those issues into

 the trial. Pls. Opp. 9, PageID.42138.




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 VII. Mention Of Pending Claims Of Other Plaintiffs
       Plaintiffs argue that some of the evidence that the parties will present in this

 case implies the existence of other claims or other lawsuits. Pls. Opp. 10-11,

 PageID.42139-42140. VNA does not seek the exclusion of that evidence. Instead,

 it seeks an order preventing Plaintiffs from affirmatively focusing the jury’s

 attention on other lawsuits filed against VNA during opening statements, closing

 arguments, or remarks in open court (e.g., explicitly referring to other claims or the

 broader litigation arising out of the Flint water crisis or alleging that other

 individuals were exposed to contaminated water because of VNA or were injured by

 VNA’s actions). Plaintiffs do not argue that those comments or arguments would

 be appropriate, and the Court should prohibit them.

 VIII. Mention Of Counsel’s Representation Of Other Plaintiffs Or
       Appointment As Lead Or Liaison Counsel
       Plaintiffs argue that “there may be instances where the questioning of a

 witness will reveal the existence and representation of other plaintiffs.” Pls. Opp.

 11, PageID.42140. The only example they provide, however, is that LeeAnn

 Walters may be called as a witness. Id. at 11 n.10, PageID.42140. If Ms. Walters is

 called, there is no legitimate reason for Plaintiffs’ counsel to mention that they

 represent her. Those comments would be irrelevant and prejudicial to VNA. See

 VNA Br. 17-18, PageID.36926-36927. More importantly, there is no cause for

 telling the jury about any of counsel’s other representations or their role as co-liaison


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  counsel, and Plaintiffs do not contend otherwise. The Court accordingly should

  instruct Plaintiffs’ counsel not to refer to their representation of other plaintiffs or

  their appointment as co-liaison counsel.

  IX.   Comments About Opposing Counsel And Other Distracting Tactics
        Plaintiffs concede that “there should be no personal attacks on opposing

  counsel.” Pls. Opp. 12, PageID.42141. But they say that the other conduct identified

  in VNA’s motion is “so vague and undefined” that it is inappropriate for resolution

  in a motion in limine. Id. On the contrary, VNA’s motion identified the following

  specific categories of misconduct: “(1) mak[ing] personal comments about opposing

  counsel or their arguments; (2) rais[ing] “irony” objections; (3) ask[ing] witnesses

  to assume that they are having a drink at a bar; (4) draw[ing] comparisons to

  counsel’s personal life; or (5) engag[ing] in any similar improper and distracting

  tactics.” VNA Br. 25-26, PageID.36928-36929. VNA did not make up these

  categories; they come from questions Plaintiffs asked during depositions in this case.

  Id. VNA filed the motion in limine so that the Court could set some ground rules so

  the same things do not happen at trial.

  X.    References To VNA And LAN Collectively
        Plaintiffs do not identify any substantive reason why they should be allowed

  to refer to VNA and LAN collectively. Instead, they argue only that collective terms

  are a common way of speaking and appear in legal sources like pattern jury



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  instructions. Pls. Opp. 12-13, PageID.42141-42142. Pattern instructions, however,

  can (and should) be modified to refer to each defendant by name. Here, VNA and

  LAN are separate companies, with very different roles in the events at issue.

  Plaintiffs would suffer no prejudice by referring to VNA and LAN separately, while

  VNA would be greatly prejudiced if Plaintiffs were allowed to blur distinctions

  between VNA and LAN so as to deemphasize the unique facts about VNA’s limited

  engagement with the City. VNA Br. 20-22, PageID.36929-36931. The Court

  therefore should set the baseline rule that the parties will refer to VNA and LAN

  separately rather than collectively.

  XI.   “Golden Rule” Arguments
        Plaintiffs concede that “Golden Rule arguments are improper.” Pls. Opp. 13,

  PageID.42142. They say that no order barring such arguments “is necessary for

  ‘black-letter law’ to apply,” id., yet they have declined to stipulate that they would

  voluntarily comply with the limitation VNA has requested. Accordingly, the Court

  should issue an order prohibiting Golden Rule arguments. Alternatively, VNA

  stands ready to enter into a stipulation with Plaintiffs on this point.

  XII. Statements To The Effect That The Compensation That Plaintiffs May
       Receive From Non-Party Defendants Is Inadequate
        Plaintiffs assert that it is “absolutely and undeniably proper” for them to argue

  that a particular allocation of fault to non-parties “is not fair” because “the

  compensation Plaintiffs will receive from settling defendants [is] insufficient.” Pls.


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  Opp. 14, PageID.42143. That is incorrect as a matter of Michigan law. Under

  Michigan law, fault must be based on the facts about each actor’s role in the Flint

  water crisis, and “the allocation of fault is not dependent on whether a plaintiff can

  recover damages from the nonparty.” Goodwin v. Nw. Mich. Fair Assoc., 325 Mich.

  App. 129, 145-46 (2018). The “inability to recover damages against a [non-party]

  in no way precludes an assessment of [the non-party’s] fault for purposes of

  accurately determining a defendant’s liability and ensuring that a defendant only

  pays his or her fair share.” Id.

         Plaintiffs also say that this aspect of VNA’s motion “should be denied on its

  face” because it uses the term “statement to the effect” and is thus impermissibly

  “vague, abstract or hypothetical.” Pls. Opp. 13, PageID.42142. VNA’s point is that

  it is the content of the argument that is improper, not any specific combination of

  words. The Court therefore should bar arguments, directly or by implication, that

  the compensation Plaintiffs may receive from potential non-parties at fault is

  inadequate or that this trial is their only opportunity to be compensated for their

  injuries.

  XIII. References To Settlements By Nonparties Or VNA’s Decision To Litigate
        Claims
         As explained in VNA’s motion to exclude evidence of settlements by non-

  parties, the Court should exclude such evidence because it is prohibited by

  substantive Michigan law, irrelevant, and prejudicial. Br. in Supp. of VNA Mot. to


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  Exclude Settlement 5-13, ECF No. 490, PageID.37022-37030.               For the same

  reasons, the Court should bar any mention of those settlements or of VNA’s decision

  to litigate instead of settle during opening statements or closing arguments.

        Plaintiffs point out that the jury will know that VNA decided to litigate from

  the very fact that the trial involves VNA. Pls. Opp. 14, PageID.42143. That misses

  the point. VNA is not attempting to prevent the jury from knowing that it decided

  to defend itself. Instead, VNA is seeking to “bar Plaintiffs from commenting on

  VNA’s decision to litigate rather than settle Plaintiffs’ claims,” because statements

  of that sort are irrelevant and prejudicial to VNA. VNA Br. 26, PageID.36935. As

  Plaintiffs’ admit, “VNA has every right not to settle and to try this case.” Pls. Opp.

  14, PageID.42143.

  XIV. Comments Implying A Conspiracy Between The City And VNA
        Plaintiffs contend that “[t]he evidence at trial either will or will not support a

  fair inference that VNA did not act independent of the City of Flint.” Pls. Opp. 15,

  PageID.42144. But the evidence that they have pointed to—that VNA was the only

  bidder for this small contract, the existence of a contract between VNA and Flint,

  and the fact that VNA informed its client of what it was finding during the project,

  id. at 15 n.17, PageID.42144—do not suggest anything improper. Accordingly, the

  Court should not permit Plaintiffs to make the highly inflammatory accusation of a




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  “conspiracy” at trial. At a minimum, it should prohibit them from doing so during

  opening statements before they have adduced any evidence to support it.

                                  CONCLUSION
        The Court should grant the motion and enter an order barring the forms of

  improper argument identified above.

                                                Respectfully submitted,

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  Dated: January 11, 2022




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                           CERTIFICATE OF SERVICE

        I hereby certify that on January 11, 2022, I electronically filed this document

  with the Clerk of the Court using the ECF System, which will send notification to

  the ECF counsel of record.



                           By:    /s/ James M. Campbell
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